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      Attorneys for Defendants
    8 ALLSTATE INSURANCE COMPANY
    9
  10                             UNITED STATE DISTRICT COURT
  11                            CENTRAL DISTRICT OF CALIFORNIA
  12
  13 ALAN BAKER,                                 Case No. 2:19-cv-08024-ODW-JC
     LINDA B. OLIVER,
  14
               Plaintiffs,                       DECLARATION OF PETER H.
  15                                             KLEE IN SUPPORT OF REPLY
          v.
  16                                             Hon. Otis D. Wright II
     ALLSTATE INSURANCE
  17 COMPANY, EDWARD CARRASCO,                   Dept:    First Street Courthouse,
     and DOES 1 through 10, inclusive,           Courtroom 5D
  18
               Defendants.                       Complaint Filed: August 16, 2018
  19                                             Trial Date: Not yet set.
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        SMRH:4821-7254-2642.1              DECLARATION OF PETER H. KLEE IN SUPPORT OF REPLY
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    1 I, Peter H. Klee, declare as follows:
    2            1.       I am an attorney with Sheppard, Mullin, Richter & Hampton LLP,
    3 attorneys for Allstate Insurance Company in this lawsuit. I have personal
    4 knowledge of the following facts.
    5            2.       Christopher Hook has never apologized to Allstate or its lawyers –
    6 whether in writing or verbally – for any of his misconduct in this case, or for
    7 causing family members to fear for their safety.
    8            3.       Every time entry included in Allstate’s bill of costs reflects time that
    9 Allstate’s counsel had to spend as a direct result of Mr. Hook’s misconduct, and the
  10 arguments he raised in his opposition brief.
  11             I declare under penalty of perjury under the laws of the United States that the
  12 foregoing is true and correct and that this declaration is executed in San Diego,
  13
  14 California on January 17, 2020.
  15                                  SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
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  17
                                      By                         /s/ Peter Klee
  18                                                            PETER H. KLEE
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        SMRH:4821-7254-2642.1                      DECLARATION OF PETER H. KLEE IN SUPPORT OF REPLY
